Filed 04/30/19                                                                Case 19-22703                                                                         Doc 1

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                                                                                                                                    FLED
                                                                                                             Cl)
     United States Bankruptcy Court for the:

      Eastern Distnct of California
                                                                                                                                   APR 3 0 2019
     Case number    (If known):   (9      2.2. 7 0.7                 Chapter you are filing under:                      UNITED STATES BANKRUPTCY COURT
                                                                                                                         EASTERN DISTR
                                                                     U Chapter 7
                                                                     U Chapter 11
                                                                        Chapter 12
                                                                        Chapter 13                                                   LI   Check if this is an
                                                                                                                                          amended filing



    Official Form 101
    Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    12115

   The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
   joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
   the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor I and
    Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The
    same person must be Debtor I in all of the forms.
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.


                Identify Yourself

                                        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

       Your full name

       Write the name that is on your
                                         AMY                                                            N/A
       government-issued picture
                                         First name                                                    First name
       identification (for example,
       your driver's license or
       passport).                       Middle name                                                    Middle name

       Bring your picture                GREENHALGH
       identification to your meeting   Last name                                                      Last name
       with the trustee.
                                        Suffix (Sr., Jr., II, Ill)                                     Suffix (Sr.. Jr., U, III)




       All other names you
       have used in the last 8           First name                                                    First name
       years

       Include your married or          Middle name                                                    Middle name
       maiden names.
                                        Last name                                                      Last name



                                         First name                                                    First name


                                        Middle name                                                    Middle name


                                        Last name                                                      Last name




    3. Only the last 4 digits of
                                        xxx — xx — 6 2 6                                 9             xxx — xx —
       your Social Security
       number or federal                OR                                                             OR
       Individual Taxpayer
       Identification number            9xx - xx -                                                     9xx - xx -
       (ITIN)


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    Debtor I      AMY                                   GREENHALGH                                         Case number
                  First Name   Middle Name                 Last Name




                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):


    4. Any business names
         and Employer                        U      I have not used any business names or EINs.                 U      I have not used any business names or ElNs.
         Identification Numbers
         (EIN) you have used in
         the last 8 years                    Business name                                                      Business name

         Include trade names and
         doing business as names
                                             Business name                                                      Business name




                                             EIN                                                                EIN



                                             EIN                                                                EIN




    5.   Where you live                                                                                         If Debtor 2 lives at a different address:



                                             3335 'J' Street
                                             Number           Street                                            Number           Street


                                             Apt. #1

                                             Sacramento                                CA 95816
                                             City                                     State     ZIP Code        City                                     State       ZIP Code

                                             SACRAMENTO
                                             County                                                             County


                                             If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                             above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                             any notices to you at this mailing address.                        any notices to this mailing address.



                                             Number           Street                                            Number          Street



                                             P.O. Box                                                           P.O. Box



                                             City                                     State                     City                                     State       ZIP Code




    6.   Why you are choosing                Check one:                                                         Check one:
         this district to file for
         bankruptcy                                 Over the last 180 days before filing this petition,         U      Over the last 180 days before filing this petition,
                                                    I have lived in this district longer than in any                   I have lived in this district longer than in any
                                                    other district.                                                    other district.

                                             U      I have another reason. Explain.                             U      I have another reason. Explain.
                                                    (See 28 U.S.C. § 1408.)                                            (See 28 U.S.C. § 1408.)




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    Debtorl       AMY                                 GREENHALGH                                      Case number   (if known)______________________________________
                  First Name   Mstdle Name             Last Name




               Tell the Court About Your Bankruptcy Case


         The chapter of the                  Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
         Bankruptcy Code you                 for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
         are choosing to file
         under
                                             U    Chapter 7

                                             U    Chapter 11

                                             U    Chapter 12

                                             66   Chapter 13


         How you will pay the fee            U I will pay the entire fee when     I file my petition. Please check with the clerk's office in your
                                                  local court for more details about how you may pay. Typically, if you are paying the fee
                                                  yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                  submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                  with a pre-printed address.

                                              I   I need to pay the fee in installments. If you choose this option, sign and attach the
                                                  Application for Individuals to Pay The Filing Fee in installments (Official Form 103A).

                                             U    I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                  By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                  less than 150% of the official poverty line that applies to your family size and you are unable to
                                                  pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                  Chapter 7 Filing Fee Waived (Official Form 1 03B) and file it with your petition.



    a.   Have you filed for                  6d No
         bankruptcy within the
         last 8 years?                       U Yes.    District                              When                       Case number
                                                                                                     MM! DD/YYYY

                                                       District                              When                       Case number
                                                                                                     MM! DD/YYYY

                                                       District                              When                       Case number
                                                                                                     MM! DD/YYYY




    10. Are any bankruptcy                   6d No
         cases pending or being
         filed by a spouse who is            U Yes.    Debtor                                                           Relationship to you
         not filing this case with                     District                              When                       Case number, if known____________________
         you, or by a business                                                                       MM!DD /YYYY
         partner, or by an
         affiliate?
                                                       Debtor                                                           Relationship to you -

                                                       District                              When                       Case number, if known
                                                                                                     MM/DD!YYYY



    ii. Do you rent your                     U No. Go to line 12.
         residence?                          4 Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                       residence?

                                                            No. Go to line 12.
                                                        U   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                            this bankruptcy petition.



    Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                    page 3
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    Debtor I       AMY                                     GREENHALGH                                        Case number
                  First Name        Middle Name             Last Name




   • flTc       Report About Any Businesses You Own as a Sole Proprietor


        Are you a sole proprietor                 0 No. Go to Part 4.
        of any full- or part-time
        business?                                 U Yes. Name and location of business
        A sole proprietorship is a
        business you operate as an
                                                           N ame of business, if any
        individual, and is not a
        separate legal entity such as
        a corporation, partnership, or
                                                           Number       Street
        LLC.
        It you have more than one
        sole proprietorship, use a
        separate sheet and attach it
        to this petition.
                                                            City                                                    State        ZIP Code



                                                           Check the appmpriate box to describe your business:

                                                           U   Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                           U   Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))

                                                           U   Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                           U   Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                           U   None of the above


        Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
        Chapter 11 of the                         can set appmpriate deadlines. If you indicate that you are a small business debtor, you must attach your
        Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).
        are you a small business
        debtor?
                                                   J No. I am not filing under Chapter 11.
        For a definition of small
        business debtor, see                      U   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
        11 U.S.C. § 101(51D).                             the Bankruptcy Code.

                                                  U Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                           Bankruptcy Code.


                Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


        Do you own or have any                        No
        property that poses or is
        alleged to pose a threat                  U Yes. What is the hazard?
        of imminent and
        identifiable hazard to
        public health or safety?
        Or do you own any
        property that needs
                                                            If immediate attention is needed, why is it needed?
        immediate attention?
       For example, do you own
       perishable goods, or livestock
       that must be fed, or a building
       that needs urgent repairs?
                                                            Where is the property?
                                                                                       Number       Street




                                                                                       City                                          State    ZIP Code


    Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
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      1.

    Debtor I          AMY                                  GREEN      HALGH                                     Case number   (if kn(__________________________
                     First Name     Medle Name              Last Name




   U FTTh. Explain Your Efforts to Receive a Briefing About Credit Counseling


                                                 About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
    15. Tell the court whether
           you have received a
           briefing about credit                 You must check one:                                                  You must check one:
           counseling.
                                                 U    I received a briefing from an approved credit                   U   I received a briefing from an approved credit
                                                      counseling agency within the 180 days before I                      counseling agency within the 180 days before I
           The law requires that you                  filed this bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
           receive a briefing about credit            certificate of completion.                                          certificate of completion.
           counseling before you file for
                                                      Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
           bankruptcy. You must
                                                      plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
           truthfully check one of the
           following choices. If you
           cannot do so, you are not
                                                 66   I received a briefing from an approved credit                   U   I received a briefing from an approved credit
                                                      counseling agency within the 180 days before I                      counseling agency within the 180 days before I
           eligible to file.
                                                      filed this bankruptcy petition, buti do not have a                  filed this bankruptcy petition, but I do not have a
                                                      certificate of completion.                                          certificate of completion.
           If you file anyway, the court
                                                      Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
           can dismiss your case, you
                                                      you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
           will lose whatever filing fee
                                                      plan, if any.                                                       plan, if any.
           you paid, and your creditors
           can begin collection activities       U    I certify that I asked for credit counseling                    U   I certify that I asked for credit counseling
           again.                                     services from an approved agency, but was                           services from an approved agency, but was
                                                      unable to obtain those services during the 7                        unable to obtain those services during the 7
                                                      days after I made my request, and exigent                           days after I made my request, and exigent
                                                      circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                                      of the requirement.                                                 of the requirement.

                                                      To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                                      requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                                      what efforts you made to obtain the bneflng, why                    what efforts you made to obtain the briefing, why
                                                      you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                                      bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                                      required you to file this case.                                     required you to file this case.

                                                      Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                                      dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                                      briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                                      If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                                      still receive a briefing within 30 days after you file.             still receive a briefing within 30 days after you file.
                                                      You must file a certificate from the approved                       You must file a certificate from the approved
                                                      agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                                      developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                                      may be dismissed.                                                   may be dismissed.
                                                      Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                                      only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                                      days.                                                               days.

                                                 U    I am not required to receive a briefing about                   U   I am not required to receive a briefing about
                                                      credit counseling because of:                                       credit counseling because of:

                                                      U   Incapacity.    I have a mental illness or a mental              U   Incapacity.    I have a mental illness or a mental
                                                                         deficiency that makes me                                            deficiency that makes me
                                                                         incapable of realizing or making                                    incapable of realizing or making
                                                                         rational decisions about finances.                                  rational decisions about finances.
                                                      U   Disability.    My physical disability causes me                 U   Disability.    My physical disability causes me
                                                                         to be unable to participate in a                                    to be unable to participate in a
                                                                         briefing in person, by phone, or                                    briefing in person, by phone, or
                                                                         through the intemet, even after I                                   through the internet, even after I
                                                                         reasonably tried to do so.                                          reasonably tried to do so.
                                                      U Active duty.     I am currently on active military                U   Active duty. I am currently on active military
                                                                         duty in a military combat zone.                                   duty in a military combat zone.
                                                      If you believe you are not required to receive a                    If you believe you are not required to receive a
                                                      briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                                      motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




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    Debtor I        AMY                                   GREEN HALGH                                      Case number (If known)___________________________
                   Font Name     Middle Name               Last Name




   •   I)ThI     Answer These Questions for Reporting Purposes

                                                    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.                       § 101(8)
    16. What kind of debts do
                                                    as "incurred by an individual primarily for a personal, family, or household purpose."
        you have?
                                                    U     No. Goto line 16b.
                                                    L     Yes. Go to line 17.

                                                    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                    money for a business or investment or through the operation of the business or investment.

                                                          No. Goto line 16c.
                                                    U     Yes. Gotoline 17.

                                                    State the type of debts you owe that are not consumer debts or business debts.
                                                     N/A

    17.   Are you filing under
          Chapter 7?                               No. I am not filing under Chapter 7. Go to line 18.

          Do you estimate that after           U   Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
          any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
          excluded and                                    U No
          administrative expenses
          are paid that funds will be                     U   Yes
          available for distribution
          to unsecured creditors?

    18.   How many creditors do                4   1-49                                U   1,000-5,000                              U   25,001-50,000
          you estimate that you                U   50-99                               U   5,001-10,000                             U   50,001 -1 00,000
          owe?                                 U   100-199                             U   10,001-25,000                            U   More than 100,000
                                               U   200-999

    19.   How much do you                      U   $0-$50,000                          U   $1,000,001-s1    million                 U   $500,000,001-s1 billion
          estimate your assets to                  $50,0014100,000                     U   $10,000,001 -$50 million                 U   $1,000,000,001410 billion
          be worth?                            U   $100,001-$500,000                   U   $50,000,001-$100 million                 U   510,000,000,001450 billion
                                               U   $500,001-$i million                 U   5100,000,001-5500 million                U   More than $50 billion

    20. How much do you                        U   $0-$50,000                          U $1,000,001-$10 million                     U $500,000,001-SI billion
          estimate your liabilities            4   $50,001-5100,000                    U   $10,000,001-550 million                  U $1,000,000,001-$10 billion
          to be?                               U   $100,001-5500,000                   U   $50,000,001-$100 million                 U 510,000,000,001-550 billion
                                               U   $500,001-s1 million                 U   $100,000,001-$500 million                U More than $50 billion
   •n            Sign   Below
                                               I have examined this petition, and   I declare under penalty of perjury that the information provided is true and
    For you                                    correct.

                                               If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                               of title ii, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                               under Chapter 7.

                                               If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                               this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                               I request relief in accordance with the chapter of title ii, United States Code, specified in this petition.

                                               I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                               with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                               18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                                                                               X N/A
                                               X4           r;L          :                 I
                                                                                                                      Signature of Debtor 2

                                                   Executed on 04/29/2019                                             Executed on
                                                                       MM / DD /YYYY                                                MM / DD IYYYY


    Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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    Debtor I      AMY                                GREEN      HALG H                                  Case number   it known)_____________________________
                  First Name   Middle Name            Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
    For your attorney, if you are            to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
    represented by one                       available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
    If you are not represented               knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
    by an attorney, you do not
                                                                                                                                /
    need to file this page.
                                             JC N/A                                                              Date
                                                Signature of Attorney for Debtor                                                MM    I    DD / VYYY




                                                                                                                                ZIP Code




    Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                        page 7
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    Debtor I     AMY                               GREEN HALGH                                  Case number (iflnown)________________________
                 First Name   Middle Name          Last Name




    For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
    bankruptcy without an                   should understand that many people find it extremely difficult to represent
    attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                            consequences, you are strongly urged to hire a qualified attorney.
    If you are represented by
    an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
    need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                            dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                            hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                            firm if your case is selected for audit. If that happens, you could lose your right to file another
                                            case, or you may lose protections, including the benefit of the automatic stay.

                                            You must list all your property and debts in the schedules that you are required to file with the
                                            court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                            in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                            property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                            also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                            case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                            cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                            Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                            If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                            hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                            successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                            Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                            be familiar with any state exemption laws that apply.

                                            Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                            consequences?
                                            UNo
                                             1 Yes
                                            Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                            inaccurate or incomplete, you could be fined or imprisoned?
                                            UNo
                                                Yes

                                            Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                               No
                                            U   Yes. Name of Person
                                                     Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                            By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                            have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                            attorney may cause me to lose my rights or property if I do not properly handle the case.


                                                                                                    X N/A
                                             Sign &I                                                     Signature of Debtor 2

                                            Date               04/29/2019                                Date
                                                               MM/DO /YYYY                                                MM/ DD/YYYY

                                            Contact phone                                                Contact phone

                                            Cellphone
                                                            9/        (8Lf pZ(o?                         Cell phone

                                            Email address      N/A                                       Email address



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